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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
x
DOC#:

UNITED STATES OF AMERICA

ORDER

DATE FILED: _ 4/30/2225

Vv.
22 CR 390-1 (VB)

GLENN GRIFFIN,
Defendant.

By letter dated April 29, 2025, defendant Griffin advised the Court that he intends to
call eight individuals to speak on his behalf at his upcoming sentencing, which is scheduled for
June 11, 2025. (Doc. #132).

To the extent Griffin assumes he has a statutory right to call character witnesses at
sentencing, he is mistaken. Rule 32(i)(4) of the Federal Rules of Criminal Procedure provides
that only the defendant, his attorney, the government’s attorney, and any victims be allowed to
speak at sentencing. The Court is not required to permit anyone else to speak. See United States
v. Degroate, 940 F.3d 167, 175-76 (2d Cir. 2019) (“To allow such testimony would potentially
result in a mini-trial of the defendant’s character following the trial of his guilt.”). The Second
Circuit’s decision in Degroate aligns with that of several other circuit courts. See id. at 175 &
n.25 (citing cases). Griffin is, of course, welcome to submit written statements from his
supporters “regarding the impact his sentencing would have on their lives and the broader
community.” (Doc. #132 at 1).

Notwithstanding the foregoing, in an exercise of its discretion, the Court will allow a
maximum of three individuals (other than Griffin and his attorney) to make brief statements on
Griffin’s behalf at sentencing, subject to the following conditions: (i) by no later than May 21,
2025, Griffin’s attorney shall submit a letter identifying up to three individuals who are expected
to speak on Griffin’s behalf, and further identifying which of these individuals require(s) a
Spanish interpreter; and (ii) to ensure that the government has sufficient notice of the information
to be presented, defense counsel must briefly summarize in his letter the subject matter about
which each person will speak.

Dated: April 30, 2025
White Plains, NY SO ORDERED:

Vill

Vincent L. Briccetti
United States District Judge

